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                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MICHIGAN


DENNIS LONNIE ALFRED WARD,                        Case No. 1:19-cv-00612-PLM-RSK
WALTER NEAL JR., AUNDRA
BECKEM, JAMAL UMAR                                Hon. PAUL L. MALONEY
BUCHANAN, SEM’J RAMONE                            Magistrate Judge RAY KENT
LAWSON, SANDY HOLT JR., and
DANDREE BLACK,
                                                  Removed From
      Plaintiffs,                                 Muskegon County Circuit Court
                                                  Case No. 19-2160-CZ
v

KATHY THARP, County Executive;                    BRIEF IN SUPPORT OF
MUSKEGON COUNTY, Municipality;                    MOTION TO DISMISS
and NANCY A. WATERS, County                       UNDER FED. R. CIV. P. 12(B)(6)
Clerk, in their individual and municipal          AND FED. R. CIV. P. 56
capacity,

      Defendants.


Plaintiff, In Pro Per                          Michael D. Homier (P60318)
Dennis Lonnie Alfred Ward, #162169             Laura J. Genovich (P72278)
Lakeland Correctional Facility                 FOSTER, SWIFT, COLLINS & SMITH, PC
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                                           1
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Plaintiff, In Pro Per
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Plaintiff, In Pro Per
Sem'j Ramone Lawson, #771655
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Plaintiff, In Pro Per
Sandy Holt, Jr., #201603
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Plaintiff, In Pro Per
Dandree Black, #193803
Lakeland Correctional Facility
141 First Street
Coldwater, MI 49035


         BRIEF IN SUPPORT OF MOTION TO DISMISS UNDER
            FED. R. CIV. P. 12(B)(6) AND FED. R. CIV. P. 56
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                                 INTRODUCTION
      Plaintiffs are seven prisoners in the Lakeland Correctional Facility who were

convicted and sentenced in the Muskegon County Circuit Court between 2001 and

2012. Plaintiffs accuse Defendants – Muskegon County and two of its employees

– of violating their federal and state constitutional rights by failing to adequately

fund, train, and supervise the court-appointed attorneys who defended Plaintiffs in

their criminal cases.

      Plaintiffs’ Complaint must be dismissed for at least five reasons: (1)

Plaintiffs’ Complaint is barred by Heck v. Humphrey, 512 U.S. 477 (1994),

because Plaintiffs implicitly challenge the validity of their convictions; (2)

Plaintiffs’ constitutional claims are barred by the applicable statutes of limitations;

(3) Plaintiffs have failed to state a claim for which relief may be granted because

Muskegon County was not statutorily responsible for indigent counsel

appointments at the time of Plaintiffs’ criminal cases; (4) Plaintiffs’ claims have

been rendered moot by sweeping changes to Michigan’s indigent defense system;

and (5) Plaintiffs lack standing. Additionally, Plaintiffs’ claims against Defendant

Kathy Tharp must be dismissed because Ms. Tharp is an administrative assistant,

not the County Executive, as Plaintiffs allege.

      For these reasons, Defendants request that Plaintiffs’ Complaint be

dismissed in its entirety under Fed. R. Civ. P. 12(b)(6) and/or Fed. R. Civ. P. 56.



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                           STATEMENT OF FACTS
      I.    Plaintiffs’ Criminal Cases and Factual Allegations

      Plaintiffs are seven prisoners whose criminal cases were heard in the

Muskegon County Circuit Court. (Complaint ¶¶ 1, 16, 21, 25, 28, 31, 35, 38.)

Generally, each Plaintiff alleges that he was assigned a court-appointed public

defender through Defendant Muskegon County. (¶¶ 16-40.) Plaintiffs allege that

their court-appointed attorneys provided inadequate representation, primarily

because they were assigned multiple attorneys during the course of their criminal

cases. Their allegations are summarized as follows:

      1.    Plaintiff Ward complains that two attorneys were assigned to his

criminal case (Complaint ¶ 16); that his first attorney “urged him to waive his

preliminary examination and circuit court arraignment” (¶ 17); and that his second

attorney “failed to properly advocate meaningfully for his client on lesser charges”

(¶ 20). Plaintiff Ward was sentenced on June 29, 2010. (Exhibit A.)

      2.    Plaintiff Neal complains that two attorneys were assigned to his

criminal case (¶¶ 21-23); that his second attorney “allowed him to plead to all

charges” (¶ 23); that his second attorney “never informed him, or indicated that his

prior felony convictions could be challenged” (¶ 24); and that his second attorney

“failed to advocate meaningfully for a reduced term of imprisonment” (¶ 24).

Plaintiff Neal was sentenced on September 4, 2001. (Exhibit B.)



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      3.     Plaintiff Beckem complains that three attorneys were assigned to his

criminal case (¶ 25); that he took his attorney’s advice to plead “nolo contendere”

to all charges because “he did not know who his attorney would be for trial” (¶ 25);

and that his attorney did not “advocate[e] meaningfully for him to receive a

reduced prison sentence, or reduced charges” (¶ 27).         Plaintiff Beckem was

sentenced on May 19, 2009. (Exhibit C.)

      4.     Plaintiff Buchanan complains that two attorneys were assigned to his

criminal case (¶ 28); that his second attorney “did not discuss an[y] potential

defenses or trial strategy” and “only advised his client to plead guilty, or nolo

contendere to the charges” (¶ 29); and that his attorney did not “advocat[e]

meaningfully for him to receive a reduced sentence” (¶ 30). Plaintiff Buchanan

was sentenced on November 17, 2009. (Exhibit D.)

      5.     Plaintiff Lawson complains that two attorneys were assigned to his

criminal case (¶ 31); that his second attorney “did nothing for any type of defense

except advised his client to plead guilty to the charges” (¶ 32); and that the second

attorney did not “advocat[e] meaningfully on his behalf for a reduced prison

sentence” (¶ 34). Plaintiff Lawson was sentenced on July 9, 2010. (Exhibit E.)

      6.     Plaintiff Holt complains that three attorneys were assigned to his

criminal case (¶ 35); that he was denied the ability to represent himself (¶ 37); and

that his attorney did not “advocat[e] meaningfully for him to get his case dismissed

on jurisdictional grounds” (¶ 37). The Complaint does not indicate what such
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“jurisdictional grounds” would be. Plaintiff Holt was sentenced on July 1, 2003.

(Exhibit F.)

      7.       Plaintiff Black complains that three attorneys were assigned to his

criminal case (¶ 38) and that he “did not receive competent representation nor did

he receive adequate, or meaningful advocacy to obtain a reduced charge or lesser

sentence” (¶ 40). Plaintiff Black was sentenced on March 13, 2012. (Exhibit G.)

      These are the only specific harms to Plaintiffs alleged in the Complaint. In

general terms, Plaintiffs also allege that Muskegon County’s indigent defense

system is “broken” (¶ 11) and that indigent defense attorneys “do not have the

resources and tools necessary to do their jobs” (¶ 10). Plaintiffs complain that a

general lack of funding, training, and supervision of Muskegon County’s indigent

defense system has deprived Plaintiffs of their rights under the Sixth and

Fourteenth Amendments to the United States Constitution and their rights under

Article 1, §§ 17 and 20 of the Michigan Constitution. (¶ 12.)

      II.      Plaintiffs’ Allegations against Defendants

      None of Plaintiffs’ criminal defense attorneys are defendants in this action.

Rather, Plaintiffs’ constitutional claims are levied against Muskegon County;

Nancy A. Waters, the Muskegon County Clerk; and Kathy Tharp, who Plaintiffs

allege is the County Executive. Kathy Tharp is, in fact, an administrative assistant

in the office of the County Administrator. (Exhibit H.)



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      Plaintiffs claim that Defendant Muskegon County “receives monetary

stipends from the Michigan State Treasury on a yearly basis . . . to maintain its

legal assistance programs for indigent citizens” (¶ 33) and that Muskegon County

was “responsib[le] for the appointment of the indigent assigned counsel for each

named Plaintiff” (¶ 47). Plaintiffs allege that Nancy Waters, as County Clerk, and

Kathy Tharp, allegedly as County Executive, were also in charge of the indigent

defense system. (¶¶ 41, 45.)

      For relief, Plaintiffs request a declaratory ruling that “the acts and omissions

of all Defendants as complained above” violate Plaintiffs’ federal and state

constitutional rights; an injunction requiring Defendants to “cease and desist” all

constitutional violations; and “any other relief” for the constitutional violations,

“including monetary damage awards and out of pocket expenses for the costs of

this litigation[.]” (Complaint, pg. 11.)

      III.   Procedural History

      Plaintiffs filed their Complaint in Muskegon County Circuit Court on or

about June 10, 2019.       Although one Summons (for Kathy Tharp) and the

Complaint were mailed on or about July 2, 2019, Plaintiffs did not ever properly

serve Defendants. Notwithstanding, upon receipt of the Complaint, Defendants

timely removed the action to this Court based on this Court’s federal question

jurisdiction (28 U.S.C. § 1331; 28 U.S.C. § 1441(a)). Defendants now request that

this Court dismiss the Complaint in its entirety.

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                          STANDARD FOR DECISION
        Under Fed. R. Civ. P. 12(b)(6), the complaint is viewed in the light most

favorable to the plaintiff, well-pleaded factual allegations are accepted as true, and

reasonable inferences are drawn in favor of the plaintiff. Bassett v. NCAA, 528

F.3d 426, 430 (6th Cir. 2008). Conclusory allegations and unwarranted inferences

are not accepted as true. Newberry v. Silverman, 789 F.3d 636, 640 (6th Cir.

2015).

        “To survive a Fed. R. Civ. P. 12(b)(6) motion to dismiss, a complaint must

contain sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A pleading that offers ‘labels and

conclusions’ or a ‘formulaic recitation of the elements of a cause of action will not

do.’”    Id. (quoting Twombly, 550 U.S. at 555).        “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not

suffice”, and courts “are not bound to accept as true a legal conclusion couched as

a factual allegation.” Id. In addition to the well-pleaded complaint, a court may

consider public records and governmental agency decisions in deciding a Rule

12(b)(6) motion to dismiss. Jackson v. City of Columbus, 194 F.3d 737, 745 (6th

Cir. 1999) (citations omitted).

        Summary judgment under Rule 56 is appropriate if no genuine issue as to

any material fact remains and the moving party is entitled to a judgment as a matter

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of law. Fed. R. Civ. P. 56(c). A genuine issue of material fact exists when there is

“sufficient evidence favoring the nonmoving party for a jury to return a verdict for

that party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986) (citations

omitted). The court must view all materials supplied, including all pleadings, in

the light most favorable to the nonmoving party. Matsushita Electric Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 587 (1986).

                                   ARGUMENT

   I.      Plaintiffs’ Complaint is barred by Heck v. Humphrey.
        Plaintiffs seek injunctive, declaratory, and monetary relief for the alleged

constitutional violations arising out of the legal representation they received in

connection with their convictions in Muskegon County Circuit Court.           These

claims are barred by Heck v. Humphrey, 512 U.S. at 477. In Heck, the Supreme

Court held that a state prisoner cannot state a claim under 42 U.S.C. § 1983 for an

alleged unconstitutional conviction or for “harm caused by actions whose

unlawfulness would render a conviction or sentence invalid” unless a prisoner

shows that the conviction or sentence has been “reversed on direct appeal,

expunged by executive order, declared invalid by a state tribunal authorized to

make such determination, or called into question by a federal court's issuance of a

writ of habeas corpus.” Id. at 486-87. This “Heck bar” applies to claims for

injunctive and declaratory relief. See Edwards v. Balisok, 520 U.S. 641, 646-48



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(1997) (declaratory relief); Clarke v. Stalder, 154 F.3d 186, 189-90 (5th Cir. 1998)

(injunctive relief).

       Here, Plaintiffs’ claims relate to the the validity of their convictions, as they

allege that they did not receive constitutionally adequate legal representation in

their criminal cases. But Plaintiffs have not alleged or shown that their convictions

have been reversed or invalidated; indeed, all seven Plaintiffs remain imprisoned

on the convictions at issue in their Complaint. (See Exhibits A-G.) Accordingly,

under Heck, Plaintiffs cannot proceed with their claims.

       The fact that Plaintiffs are broadly attacking the indigent defense system

does not avoid the Heck bar. The United States District Court for the District of

Utah has rejected precisely such an argument in Williams v. Weber Cty., No. 1:11-

CV-21 CW, 2013 U.S. Dist. LEXIS 85574 (D. Utah June 17, 2013) (Exhibit I).

Williams involved nearly identical facts: the plaintiffs had received court-appointed

indigent defense counsel, pled guilty, and then sued the county and county officials

under § 1983, claiming that their Sixth Amendment right to counsel had been

violated. Id. at *2-3. The District Court granted the defendants’ motion for

summary judgment and dismissed the case under Heck, reasoning as follows:

              Although Plaintiffs contend that they “are not attacking
              their convictions,” they admit to “attacking the deficient
              indigent defense program in Weber County.” . . . The
              adequacy of Weber County’s indigent defense
              program, however, is directly tied to the validity of
              Plaintiffs’ convictions. Thus, Plaintiffs cannot show that
              they were denied constitutionally sufficient legal
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                representation by Defendants without             directly
                undermining their convictions or sentences.

Id. at * 12 (emphasis added); see also Hadley v Werner, 753 F.2d 514 (6th Cir.

1985) (holding that plaintiff’s recourse for alleged ineffective assistance of court-

appointed counsel was writ of habeas corpus, not a constitutional claim against

county that assigned counsel). For the same reasons, this Court should dismiss

Plaintiffs’ claims.

    II.      Plaintiffs' claims are barred by the statute of limitations.
          In determining the statute of limitations for § 1983 actions, courts must

apply the state’s statute of limitations for personal injuries. Wilson v. Garcia, 471

U.S. 261 (1985). Michigan has a three-year statute of limitations for personal

injury claims. Mich. Comp. Laws § 600.5805. Thus, § 1983 claims filed in

Michigan are subject to a three-year statute of limitations. Carroll v. Wilkerson,

782 F.2d 44, 45 (6th Cir. 1986); see also Scott v. Ambani, 577 F.3d 642, 646 (6th

Cir. 2009).

          Here, Plaintiffs’ Complaint does not indicate when their criminal cases were

pending, but public records show that their sentences were imposed between 2001

and 2012. (Exhibits A-G.) None of the Plaintiffs were convicted or sentenced

within the three years before the Complaint was filed, and thus none of the alleged

conduct giving rise to their claims – i.e., Muskegon County's allegedly deficient

training, funding, and supervision of court-appointed attorneys – occurred within


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the past three years. Plaintiffs’ claims under § 1983 are therefore barred by the

statute of limitations and must be dismissed.

      Likewise, Plaintiffs’ claims under the Michigan Constitution are barred by

Michigan’s three-year statute of limitations. Orco Investments v. City of Romulus,

unpublished per curiam opinion of the Michigan Court of Appeals, 2012 Mich.

App. LEXIS 1254 (June 26, 2012) (holding that statute of limitations for claims

under Michigan Constitution is three years) (Exhibit J). Plaintiffs’ claims must be

dismissed.

    III.   Plaintiffs have failed to state a claim for which relief may be
           granted.

      Plaintiffs’ Complaint also must be dismissed because they have failed to

state a cognizable claim against these Defendants. Plaintiffs’ claims depend on

their assertion that Muskegon County and its Clerk and County Executive

controlled the indigent defense program at the time of Plaintiffs’ criminal cases.

(See Complaint, ¶¶ 41-47.) Plaintiffs, however, are mistaken.

      All of Plaintiffs’ criminal sentences were imposed prior to 2013.       (See

Exhibits A-G, showing that Plaintiffs’ sentencing dates range from 2001 to 2012.)

Prior to 2013, Michigan law vested control of indigent defense appointments to the

chief circuit judge, not counties:

             When a person charged with having committed a felony
             appears before a magistrate without counsel, and who has
             not waived examination on the charge upon which the
             person appears, the person shall be advised of his or her

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            right to have counsel appointed for the examination. If
            the person states that he or she is unable to procure
            counsel, the magistrate shall notify the chief judge of
            the circuit court in the judicial district in which the
            offense is alleged to have occurred, or the chief judge of
            the recorder’s court of the city of Detroit if the offense is
            alleged to have occurred in the city of Detroit. Upon
            proper showing, the chief judge shall appoint or direct
            the magistrate to appoint an attorney to conduct the
            accused’s examination and to conduct the accused’s
            defense. The attorney appointed by the court shall be
            entitled to receive from the county treasurer, on the
            certificate of the chief judge that the services have been
            rendered, the amount which the chief judge considers
            to be reasonable compensation for the services
            performed.

Mich. Comp. Laws § 775.16 (1981). Public Act 94 of 2013, which took effect July

1, 2013, amended revised the statute to read as follows:

            When a person charged with having committed a crime
            appears before a magistrate without counsel, the person
            shall be advised of his or her right to have counsel
            appointed. If the person states that he or she is unable to
            procure counsel, the magistrate shall appoint counsel, if
            the person is eligible for appointed counsel under the
            Michigan indigent defense commission act.

Mich. Comp. Laws § 775.16 (2013).          Importantly, the companion legislation

(Public Act 93 of 2013) also created the Michigan indigent defense commission,

which has adopted minimum standards for the local delivery of indigent criminal

defense services. See Mich. Comp. Laws § 780.985. (These standards are further

discussed in Argument IV below.)




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      Thus, between 2001 and 2012, when Plaintiffs were sentenced, Muskegon

County was not the entity authorized to appoint indigent defense counsel; the chief

judge of the circuit court was vested with that power. The Sixth Circuit has

recognized this in a nearly identical case. Floyd v. County of Kent, 454 F. App'x

493 (6th Cir. 2012) (Exhibit K). In Floyd, the plaintiff alleged that Kent County

had “failed to provide adequate funding and oversight for the public defense

system” in violation of the Sixth and Fourteen Amendments. Id. at 496. The

plaintiff also argued that Kent County had failed to “adopt training or qualification

standards for appointed defense attorneys,” which allegedly resulted in ineffective

assistance of counsel. Id.

      This Court dismissed Floyd’s complaint for failing to state a claim for which

relief may be granted, and the Sixth Circuit affirmed, reasoning as follows in

relevant part:

             Floyd also did not state a claim for relief against Kent
             County for perceived deficiencies in providing counsel to
             indigent defendants. At the time of Floyd's sentencing,
             Michigan law placed responsibility for appointing an
             attorney for an indigent accused on the chief judge of
             the circuit court in the county where the offense
             occurred, and not directly on the county or its
             executive officials. Mich. Comp. Law § 775.16 (1999).
             The statute provided that appointed defense attorneys
             were paid from the county treasury, but only after the
             chief judge of the circuit court in that county certified
             that the appointed attorney rendered professional services


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             and was entitled to receive reasonable compensation for
             the services performed. Id.

Id. at 499. On those grounds, the Sixth Circuit affirmed this Court’s dismissal of

Floyd’s claims against Kent County. Id.

      For the same reasons, Plaintiffs’ claims against Muskegon County and its

officials and employees must fail. Muskegon County was not the entity charged

with assigning indigent defense counsel during Plaintiffs’ cases, and thus Plaintiffs

have not stated a claim against Defendants.

   IV.    Plaintiffs’ Complaint is moot.
      Article III of the Constitution limits the federal courts to adjudicating actual

“cases or controversies.” U.S. Const. art. III, § 2. Consequently, “cases that do not

involve actual, on-going controversies are moot and must be dismissed for lack of

jurisdiction.” Campbell v. PMI Food Equip. Grp., Inc., 509 F.3d 776, 782 (6th

Cir. 2007). Here, Plaintiffs’ Complaint is moot because the Michigan Legislature

has already substantially revamped the minimum standards for indigent defense

counsel and has thereby addressed the concerns raised in Plaintiffs’ Complaint.

      As noted above, Public Act 93 of 2013, the “Michigan Indigent Defense

Commission Act,” created the Michigan Indigent Defense Commission, which is

required to establish minimum standards for the local delivery of indigent criminal

defense services. See Mich. Comp. Laws § 780.985-991. Among other things, the




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statute requires minimum standards directly related to the allegations in Plaintiffs’

Complaint:

             The MIDC shall implement minimum standards, rules, and
             procedures to guarantee the right of indigent defendants to the
             assistance of counsel as provided under amendment VI of the
             Constitution of the United States and section 20 of article I of
             the state constitution of 1963. In establishing minimum
             standards, rules, and procedures, the MIDC shall adhere to the
             following principles:

             (a) Defense counsel is provided sufficient time and a space
                 where attorney-client confidentiality is safeguarded for
                 meetings with defense counsel's client.

             (b) Defense counsel's workload is controlled to permit
                 effective representation. Economic disincentives or
                 incentives that impair defense counsel's ability to provide
                 effective representation must be avoided. The MIDC may
                 develop workload controls to enhance defense counsel's
                 ability to provide effective representation.

             (c) Defense counsel's ability, training, and experience match
                 the nature and complexity of the case to which he or she is
                 appointed.

             (d) The same defense counsel continuously represents and
                 personally appears at every court appearance
                 throughout the pendency of the case. However, indigent
                 criminal defense systems may exempt ministerial,
                 nonsubstantive tasks, and hearings from this prescription.

             (e) Indigent criminal defense systems employ only defense
                 counsel who have attended continuing legal education
                 relevant to counsels' indigent defense clients.

             (f) Indigent criminal defense systems systematically review
                 defense counsel at the local level for efficiency and for
                 effective representation according to MIDC standards.

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Mich. Comp. Laws § 780.991(2) (emphasis added). Consistent with this statutory

mandate, the Michigan Indigent Defense Commission has adopted its first four

standards, which have been approved by the Michigan Department of Licensing

and Regulatory Affairs.1 The Commission’s second set of standards is currently

being reviewed by the State.2 The standards address education and training of

defense counsel; initial interview requirements; investigation and experts; counsel

appearances; independent from the judiciary; indigent defense workloads;

qualification and review; and minimum attorney compensation.3

         The new statutory mandates and accompanying standards have already

provided the prospective relief that Plaintiffs seek. That is, to the extent Plaintiffs

complain about a “broken” indigent defense system, the Michigan Legislature and

Michigan Indigent Defense Commission have addressed Plaintiffs’ concerns.

There is no longer any “actual, ongoing controversy” concerning the indigent

defense deficiencies described in Plaintiffs’ Complaint, and thus their claims are

moot and must be dismissed. Campbell, 509 F.3d at 782.

    V.      Plaintiffs lack standing.

         For similar reasons, Plaintiffs lack standing. To have standing, Plaintiffs

must show that it is “likely, as opposed to merely speculative, that the injury will


1
  https://michiganidc.gov/standards/
2
  Id.
3
  https://michiganidc.gov/wp-content/uploads/2019/07/Standards-1-8-June-
2019.pdf
                                          15
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be redressed by a favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S.

555, 561 (1992). A “psychic satisfaction” with the court’s decision “is not an

acceptable Article III remedy because it does not redress a cognizable Article III

injury.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107 (1998).

      Here, this Court cannot grant relief that will redress Plaintiffs’ injuries.

Plaintiffs ask for declaratory and injunctive relief mandating improvements to the

indigent defense system, but even if such improvements had not already been made

by the State (see Argument IV), such court-mandated prospective improvements

would not benefit Plaintiffs because Plaintiffs have already been convicted.

Plaintiffs certainly cannot show that they “likely” will be assigned indigent defense

counsel in Muskegon County in the future, particularly because some of the

Plaintiffs are serving life sentences. Thus, Plaintiffs’ alleged injuries cannot be

redressed by this Court, and they lack standing.

   VI.    Kathy Tharp is not a proper defendant.
      Finally, even if this case were to proceed, Kathy Tharp must be dismissed as

a defendant. Plaintiffs allege that Kathy Tharp is the County Executive “in charge

of all functions within the Muskegon County Municipality and Jurisdiction.”

(Complaint ¶ 41.)     However, Kathy Tharp is actually the executive assistant

(secretary) to the County Administrator. (Exhibit H.) She is not the County

Executive and therefore should be named as a defendant in this case.



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                                  CONCLUSION
      For these reasons, Defendants request that this Court dismiss Plaintiffs’

Complaint in its entirety with prejudice.



                                       Respectfully submitted,

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